          Case 6:20-bk-17117-SC                   Doc 21 Filed 01/25/21 Entered 01/25/21 15:12:36                                       Desc
                                                   Main Document Page 1 of 4

 Attorney or Party Name, Address, Telephone & FAX                            FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
 Lane Nussbaum, SBN 264200
 Nussbaum APC
 27489 Agoura Rd., Ste 102                                                                               FILED & ENTERED
 Aguora Hills, CA 91301

                                                                                                                 JAN 25 2021

                                                                                                           CLERK U.S. BANKRUPTCY COURT
                                                                                                           Central District of California
                                                                                                           BY craig      DEPUTY CLERK




     Individual appearing without attorney
     Attorney for: Movant Magnum Property Investments

                                          UNITED STATES BANKRUPTCY COURT
                                   CENTRAL DISTRICT OF CALIFORNIA - RIVERSIDE DIVISION

 In re:                                                                      CASE NO.: 6:20-BK-17117-SC
                                                                             CHAPTER: 7

 JUAN RODRIGUEZ and JUANA RODRIGUEZ
                                                                             ORDER:
                                                                                    GRANTING APPLICATION AND SETTING
                                                                                    HEARING ON SHORTENED NOTICE
                                                                                    DENYING APPLICATION FOR ORDER
                                                                                    SETTING HEARING ON SHORTENED
                                                                                    NOTICE
                                                                                             [LBR 9075-1(b)]
                                                              Debtor(s).

 Movant (name): MAGNUM PROPERTY INVESTMENTS, LLC



1. Movant filed the following motion together with supporting declarations and (if any) supporting documents:

    a. Title of motion: Motion Confirming that the Automatic Stay does Not Apply

    b. Date of filing of motion: 01/25/2021

2. Pursuant to LBR 9075-1(b), movant also filed an Application for Order Setting Hearing on Shortened Notice
   (Application) together with supporting declaration(s):

    Date of filing of Application:

3. Based upon the court’s review of the application, it is ordered that:

    a.        The Application is denied. The motion may be brought on regular notice pursuant to LBRs.

    b.        The Application is granted, and it is further ordered that:

          This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2013                                                           Page 1                             F 9075-1.1.ORDER.SHORT.NOTICE
        Case 6:20-bk-17117-SC                   Doc 21 Filed 01/25/21 Entered 01/25/21 15:12:36                                       Desc
                                                 Main Document Page 2 of 4


        (1)         A hearing on the motion will take place as follows:


                Hearing date: 2/2/21                        Place:
                Time: 10:00 a.m.                                255 East Temple Street, Los Angeles, CA 90012
                                                                21041 Burbank Boulevard, Woodland Hills, CA 91367
                Courtroom: 126 – Virtual.
                Accessibility information will be               3420 Twelfth Street, Riverside, CA 92501
                posted into the Court’s tentative               411 West Fourth Street, Santa Ana, CA 92701
                prior to the hearing.                           1415 State Street, Santa Barbara, CA 93101

        (2)         No later than the deadlines given, telephonic notice of the hearing must be provided to all
                    persons/entities listed:

                (A) Deadlines:                         (B) Persons/entities to be provided with telephonic notice:
                Date: 1/26/21                            All interested parties.

                Time: 12:00 p.m.

                                                                See attached page
                                                       (C) Telephonic notice is also required upon the United States trustee



        (3)         No later than the deadlines given, written notice of the hearing and a copy of this order must be
                    served upon all persons/entities listed using:       one of the methods checked         all of the
                    methods checked

              (A)        Personal Delivery             Overnight Mail                First class mail               Facsimile*              Email*

                (B) Deadlines:                         (C) Persons/entities to be served with written notice and a copy of this
                                                           order:
                Date: 1/26/21

                Time: 12:00 p.m.                           All interested parties



                                                                See attached page
                                                       (D) Service is also required upon:
                                                           -- United States trustee (electronic service is not permitted)
                                                           -- Judge’s copy personally delivered to chambers
                                                              (see Court Manual for address)




        This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2013                                                         Page 2                             F 9075-1.1.ORDER.SHORT.NOTICE
        Case 6:20-bk-17117-SC                   Doc 21 Filed 01/25/21 Entered 01/25/21 15:12:36                                       Desc
                                                 Main Document Page 3 of 4

        (4)       No later than the deadlines given, a copy of the motion, declarations, and supporting documents (if any),
                  must be served on all persons/entities listed using:        one of the methods checked       all of the
                  methods checked
              (A)      Personal Delivery       Overnight Mail          First Class Mail        Facsimile*      Email*

                (B) Deadlines:                         (C) Persons/entities to be served with motion, declarations, supporting
                    Date: 1/26/21                          documents, if they have not previously been served:

                    Time: 12:00 p.m.                    All interested parties



                                                              See attached page
                                                       (D) Service is also required upon:
                                                           -- United States trustee (no electronic service permitted)
                                                           -- Judge’s copy personally delivered to chambers
                                                              (see Court Manual for address)


        (5)         Regarding opposition to the motion

                    opposition to the motion may be made orally at the hearing

                    no later than the deadlines given, written opposition to the motion must be filed with the court and
                    served upon all persons/entities listed using:     one of the methods checked           all of the methods
                    checked
              (A)        Personal Delivery            Overnight Mail              First Class Mail                Facsimile*                Email*

                (B) Deadlines:                         (C) Persons/entities to be served with written opposition to the motion:
                    Date: 2/1/21                           -- movant’s attorney (or movant, if movant is not represented by an
                                                              attorney)
                    Time: 12:00 p.m.




                                                       (D) Service is also required upon:
                                                           -- United States trustee (electronic service is not permitted)
                                                           -- Judge’s copy personally delivered to chambers
                                                              (see Court Manual for address)


        (6)         Regarding a reply to an opposition:

                    a reply to opposition may be made orally at the hearing.

                    no later than the deadlines given, a written reply to an opposition must be filed with the court and
                    served on all persons/entities listed using:        one of the methods checked           all of the methods
                    checked

              (A)        Personal Delivery            Overnight Mail              First Class Mail                Facsimile*                Email*




        This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2013                                                         Page 3                             F 9075-1.1.ORDER.SHORT.NOTICE
        Case 6:20-bk-17117-SC                   Doc 21 Filed 01/25/21 Entered 01/25/21 15:12:36                                       Desc
                                                 Main Document Page 4 of 4

                (B) Deadlines:                          (C) Persons/entities to be served with written reply to opposition:
                 Date:                                      -- All persons/entities who filed a written opposition

                 Time:



                                                        (D) Service is also required upon:
                                                            -- United States trustee (electronic service is not permitted)
                                                            -- Judge’s Copy personally delivered to chambers
                                                               (see Court Manual for address)


        (7)       Other requirements:



        (8)       No later than the deadlines given, movant must file a Declaration of Notice and Service establishing
                  that telephonic notice, written notice, and service of the motion and this order was completed as set forth
                  above, and a judge’s copy of the Declaration of Notice and Service must be personally delivered to the
                  judge’s chambers:

                         at least 2 days before the hearing.

                         no later than:         Date:                              Time:



    * Service by electronic means (facsimile or email) requires compliance with F.R.Civ.P. 5(b)(2)(E).

                                                                        ###




                Date: January 25, 2021




        This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2013                                                         Page 4                             F 9075-1.1.ORDER.SHORT.NOTICE
